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                                                                                 U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA
                                                                     PFE/JAB: SEPT 2020
                                                                     GJ# 21


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        WESTERN DIVISION

UNITED STATES OF AMERICA                )
                                        )
v.                                      ) Case No.
                                        )
DEVONTAY JERROD HUTT,                   )
    Defendant.                          )

                                INDICTMENT

COUNT ONE: [18 U.S.C. § 922(g)(1)]

      The Grand Jury charges that:

      On or about the 31st day of December, 2019, in Tuscaloosa County, within the

Northern District of Alabama, the Defendant,

                        DEVONTAY JERROD HUTT,

knowing he had previously been convicted of a crime punishable by imprisonment

for a term exceeding one year, knowingly possessed a firearm, that is, a Glock 9

millimeter pistol, and the firearm was in and affecting commerce, in violation of

Title 18, United States Code, Section 922(g)(1).      HUTT was convicted on

September 29, 2015, of the offense of Robbery, Second Degree, in the Circuit Court

of Tuscaloosa County, Alabama, in case number CC-2014-0628, said offense being

a crime punishable by imprisonment for a term exceeding one year.
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COUNT TWO: [18 U.S.C. § 922(o)]

The Grand Jury charges that:

      On or about the 31st day of December, 2019, in Tuscaloosa County, within

the Northern District of Alabama, the Defendant,

                           DEVONTAY JERROD HUTT,

did knowingly possess a machinegun, that is, a Glock 9 millimeter machinegun,

that is a firearm designed and manufactured to shoot automatically more than one

shot, without manual reloading, by a single function of the trigger, in violation of

Title 18, United States Code, Section 922(o).



COUNT THREE: [26 U.S.C. § 5861(d)]

       The Grand Jury charges that:

       On or about the 31st day of December, 2019, in Tuscaloosa County, within

the Northern District of Alabama, the Defendant,

                         DEVONTAY JERROD HUTT,

did knowingly receive or possess a firearm, that is, a Glock 9 millimeter

machinegun, that is a firearm designed and manufactured to shoot automatically

more than one shot, without manual reloading, by a single function of the trigger,

and that was not registered to him in the National Firearms Registration and Transfer

Record, in violation of Title 26, United States Code, Section 5861(d).



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                         NOTICE OF FORFEITURE
                   18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)

       1.    The allegations contained in Counts One, Two, and Three of this

Indictment are hereby re-alleged and incorporated by reference for the purpose of

alleging forfeitures pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

       2.    Upon conviction of the offenses charged in Counts One, Two, and/or

Three of this Indictment for violation of 18 U.S.C. § 922(g)(1), 18 U.S.C. § 922(o),

and 26 U.S.C. § 5861(d), the Defendant shall forfeit to the United States of America,

pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), all firearms and ammunition

involved in or used in the commission of the offense, including, but not limited to, a

Glock 9 millimeter machinegun, bearing serial number BHFX851, and any

associated magazines and ammunition.


A TRUE BILL

/s/electronic signature
FOREPERSON OF THE GRAND JURY                  PRIM F. ESCALONA
                                              United States Attorney

                                              /s/electronic signature
                                              ALAN BATY
                                              Assistant United States Attorney




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